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                        IN THE LINITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

LINITED STATES OF AMERICA.

                      Plaintiff,
                                                                      8:23CR69
       VS.
                                                              MOTION TO DISMISS
DOMINGO ZETINO-HERNANDEZ.

                      Defendant.



       COMES NOW Plaintifl United States of America, by and through the Acting United

States Attorney for the District of Nebraska, and pursuant to Rule 48(a) of the Federal Rules of

Criminal Procedure, respectfully requests leave to dismiss, without prejudice, the Indictment filed

herein (Filing No. l), as it related to the Defendant, DOMINGO ZETINO-HERNANDEZ.

                                                     Respectfully submitted,

                                                     LINITED STATES OF AMERICA,
                                                     Plaintiff,


                                             By
                                                              T.
                                                     Acting United States Attorney
                                                     1620 Dodge Street, Suite 1400
                                                     Omaha, NE 68102-1506
                                                     (402) 66r-3700
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                                 CERTIFICATE OF SERVICE

        I hereby certiff that on November 75,2023,I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all registered
participants. I also hereby certiS that a copy of the same was served by regular mail, postage
prepaid, to the following non-CM/ECF participants: None.

                                                     s/ Donald J. Kleine
                                                     Assistant U.S. Attorney




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